 IN THE COURT OF APPEALS OF THE STATE OF WASHINGTON

 KURT A. BENSHOOF,
                                                    No. 85465-8-I
                 Appellant,
                                                    DIVISION ONE
                 v.
                                                    UNPUBLISHED OPINION
 JESSICA R. OWEN,

                 Respondent.


          BIRK, J. — Kurt Benshoof appeals the trial court’s order ejecting him from

the property at issue (the Property), arguing the trial court erred by: (1) dismissing

his claims, (2) canceling the lis pendens he recorded against the Property, (3)

denying Benshoof’s motion to amend his complaint, (4) refusing to allow him to

testify remotely, and (5) limiting evidence of monetary contributions to the Property.

Benshoof further argues the “totality of the trial court’s rulings” exhibited bias. We

affirm.

                                           I

          Before the purchase of the Property, Benshoof and Jessica Owen were in

a relationship. The relationship ended in 2012. On October 13, 2014, Owen

contracted to purchase the Property. On December 30, 2014, with the help of her

parents, Owen closed the transaction and title was conveyed to Owen and her

parents. Owen moved into the Property in January 2015, and Benshoof moved

into the Property in March 2016. In December 2018, Owen refinanced the Property
No. 85465-8-I/2


and her parents conveyed their interest to her. In July 2020, Owen moved out of

the Property, leaving Benshoof in the house.         In September 2020, Owen

purchased and moved into a new home. In August 2021, Owen told Benshoof she

planned to evict him from the Property.

      On March 16, 2022, Benshoof filed a pro se complaint against Owen “for

money damages resulting from constructive fraud and infliction of emotional

distress” under King County Superior Court cause number 22-2-03826-8 SEA.

Benshoof alleged Owen “abused [Benshoof’s] trust, and refused to add

[Benshoof’s] name to the title of their house as had been agreed upon before [the

parties] finalized the mutual purchase agreement.”       Benshoof alleged that—

starting at least four years earlier—“[b]etween 2018 and September 2021,

[Benshoof] repeatedly demanded that [Owen] put [Benshoof’s] name” on the

Property title, but that during that same time period Owen refused to do so. On

May 6, 2022, Owen filed her first amended answer to the complaint asserting

counterclaims for ejectment and recovery for unjust enrichment.

      On June 24, 2022, Owen filed a CR 12(c) motion for judgment on the

pleadings, arguing Benshoof’s claims “(1) are barred by the relevant statute of

limitations; (2) are improperly pleaded; and/or (3) they fail to state a claim upon

which relief can be granted.” On July 15, 2022, Benshoof filed an “amended”

complaint without leave from the trial court, asserting the same two legal claims,

but attempting to reframe the earlier allegation that Owen had disputed Benshoof’s

claim of ownership more than three years before the commencement of his action.

The trial court dismissed Benshoof’s claims, ruling his fraud claim “as pleaded, or


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No. 85465-8-I/3


whether pleaded as any other claim arising from [Owen’s] repudiation of an alleged

oral promise concerning the [Property], is time barred and dismissed with

prejudice” and that Benshoof’s complaint “fails to state a claim upon which relief

can be granted for the recovery of emotional distress and is accordingly dismissed

with prejudice.” The trial court noted that Benshoof had improperly attempted to

amend his complaint, and ruled “even if this amended complaint were to be

considered, it fails under the same merits.” (Boldface omitted.) The trial court

clarified that its ruling did “not impact the two causes of action articulated in

[Owen’s] counterclaims.”

      On September 28, 2022, still pro se, Benshoof filed a new lawsuit against

Owen under King County Superior Court cause number 22-2-15745-3 SEA,

alleging the same set of facts as the previously dismissed complaint. Benshoof

made additional allegations about the arrangements for the purchase money for

the house and representations he claimed showed joint ownership, but omitted his

earlier allegation that Owen had disputed his claim of ownership more than three

years before the commencement of the actions. He asserted one claim only, for

“fraud.” Owen filed a motion to consolidate this and another of Benshoof’s lawsuits

under cause number 22-2-03826-8 SEA because “[a]ll three cases share common

questions of law and similar facts underlying [Benshoof’s] various disputes.” 1 The

trial court consolidated cause number 22-2-15745-3 SEA (the second house


      1 The third case Owen requested to consolidate was King County Superior

Court cause number 22-2-15958-8 SEA, in which Benshoof sued Owen, her
attorney, her current partner, and her friend, as described in our opinion of even
date in matter number 85092-0-I.


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No. 85465-8-I/4


ownership case) into cause number 22-2-03826-8 SEA (the first house ownership

case).

         On December 27, 2022, Owen filed a CR 56 motion for ejectment and CR

12(b)(6) motion to dismiss, requesting the trial court grant summary judgment on

her counterclaim for ejectment and dismiss Benshoof’s “re-filed claim of fraud.” On

the same day, now represented by counsel, Benshoof moved for leave to amend

his complaint “initially filed on March 16, 2022, (22-2-03826-8) which was then

consolidated with the complaint filed under case (22-2-15745-3).” The motion

explained that Benshoof’s proposed amended complaint “includes more properly

stated cause of action (unjust enrichment, constructive trust and quiet title), which

reflect the essence of the legal issues in this matter.” The trial court denied

Benshoof’s motion to amend, stating,

                  More than five months [after the trial court dismissed his
         claims], Benshoof, now with the assistance of counsel, seeks to
         revive his lawsuit by amending his Complaint to assert claims for
         breach of contract, unjust enrichment, constructive trust, and quiet
         title. The Court finds that if Benshoof is allowed to amend his
         complaint at this juncture, Owen would be substantially
         prejudiced. . . . Pursuant to the deadlines set forth in the case
         schedule, there is no time for Owen to conduct any discovery on
         Benshoof’s new claims. Discovery cutoff is January 23, 2023, and
         trial is set to commence March 13, 2023. It is simply too late for
         Benshoof to circumvent [the trial court’s] ruling from July 2022 and
         revive his lawsuit with an amended complaint.

Although the trial court based its decision on the prejudicial effect of an untimely

amendment, it noted “that allowing the amended complaint would be futile. Given

[the prior] ruling, any claim arising from Owen’s repudiation of an alleged oral

promise concerning the home is without merit.”



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No. 85465-8-I/5


       On January 24, 2023, the trial court granted Owen’s motion to dismiss

Benshoof’s September complaint and granted Owen’s request that the lis pendens

recorded against the Property be cancelled because Benshoof “possesses no

claim to the title of the [Property].”

       On the date of trial, Benshoof was not present because, his counsel

claimed, “there is a warrant, a civil warrant for his arrest, and in speaking with

defense counsel, it was advised that he not appear in court.” Owen advised the

trial court that charges were pending in Seattle Municipal Court and “[t]he filing

date was March 14, 2023.” Benshoof’s counsel requested the trial court allow him

to appear by Zoom2, and Owen objected. The trial court stated it “set this for an

in-person trial because, frankly, I believe it would be easier for the Court to oversee

this trial with both parties in person given the amount of litigation that has occurred

involving [Benshoof],” and it believed “that proceeding by Zoom would essentially

not give the Court enough control over the litigants in this matter.” The trial court

denied Benshoof’s request to appear by Zoom. The trial court stated that if

Benshoof chose to join, “he will have an opportunity to testify here if he wishes to.”

       At trial, during Owen’s cross-examination, Owen’s counsel objected to a

question regarding who paid the earnest money for the Property, arguing it was

not relevant “given we’re talking about September 2020 forward.”            Benshoof

argued that in the “context” of unjust enrichment “and equity and in fairness of what


       2  “Zoom” is a cloud-based, peer-to-peer videoconferencing software
platform that is used for teleconferencing, telecommuting, distance education, and
social relations. In re Dependency of G.L.L, 20 Wn. App. 2d 425, 428 n.1, 499
P.3d 984 (2021).


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No. 85465-8-I/6


[Benshoof] did or didn’t pay even in 2020, 2021, and 2022, I think there’s a context

for the home and where he was living, and I think that we have the right to establish

that context.” The trial court stated it was “only considering the past three years

from when the complaint was filed” for the purposes of unjust enrichment, “but for

all intents and purposes, it would really start from when [Owen] moved out.” The

trial court confirmed it was “only looking from September of 2020 forward for the

unjust enrichment claim,” and sustained the objection. After Benshoof made an

offer of proof and argued the evidence was relevant, the trial court asked Owen for

a response. Owen stated,

               [DEFENSE COUNSEL]: I think what’s happening here is
       there’s an attempt to assert a setoff to an unjust enrichment claim
       prior to the circumstances that the Court has to consider prior to that
       time period, and that’s you know, for a number of procedural
       reasons, not appropriate. It’s been time-barred. There’s no setoff
       [pleaded]. It’s December of 2014, as we have noted before. We’re
       making the claim for continued sole occupancy of September 2020
       forward.
               If we were to go back before September of 2020 when they
       were living under the same roof, I’ll proffer that there would be
       testimony about [Benshoof] giving [Owen] cash for raising their kid.
       For buying groceries. For potentially living in the house. There’s
       money. There’s bills that she paid for that benefitted him. You’re
       going to get into an entire system of debits and credits.
               And, essentially, what you’re going to be asked to do on
       claims which are time-barred is come up with a net amount of debits
       and credits and then offset it against circumstances that occurred in
       the future.
               And, again, because of the statute of limitations ruling, it’s not
       reasonable, even though it wasn’t raised for us, to go back and then
       argue about the debits and credits that would favor us in that
       circumstance.

The trial court sustained the objection.




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No. 85465-8-I/7


       Later in trial, Benshoof objected to testimony by Owen and requested the

trial court consider excerpts from his deposition testimony, because he was “not

here,” in order to controvert Owen’s characterization of certain payments. The trial

court responded that it “did read [Owen’s] designations because [Benshoof] is a

party-opponent,” but it did not read Benshoof’s designations of his testimony

because “I can’t consider that portion of the testimony unless it basically is like

under the rule of completeness, for example.”          The trial court sustained the

objection.

       At the end of trial, the trial court stated it was “going to take judicial notice

of [Benshoof’s] litigation tactics against [Owen],” and noted,

              There’s also been just one case after another, including a
       vexatious litigation order, including a denial of a writ of habeas
       corpus order, and I do think the Court will take judicial notice of all of
       those lawsuits, and that they should be included in the findings of
       fact and conclusions of law.

After hearing argument on the matter, the trial court revised its written findings of

fact to clarify it was “ ‘not relying on this litigation in the determination regarding

liability and damages in this case, but it is nonetheless relevant context under

which this lawsuit occurs.’ ”

       On June 2, 2023, the trial court issued its findings of fact and conclusions

of law, concluding Owen was entitled to an order ejecting Benshoof from the

Property because Benshoof possessed no claim to the Property title. The trial

court issued a writ of ejectment and ordered that Owen was entitled to $41,300.00

arising from Benshoof’s occupancy of the Property. Benshoof appeals.




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No. 85465-8-I/8


                                           II

       Benshoof argues the trial court incorrectly barred any claims as to

ownership due to the statute of limitations, thereby dismissing his claims under CR

12(c). We disagree.

       We review a CR 12(c) dismissal ruling de novo, examining the pleadings to

determine whether the claimant can prove any set of facts, consistent with the

complaint, that would entitle the claimant to relief. N. Coast Enters., Inc. v. Factoria

P’ship, 94 Wn. App. 855, 858-59, 974 P.2d 1257 (1999). The factual allegations

alleged in the complaint are accepted as true. Id. at 859. Dismissal is appropriate

when it appears beyond a reasonable doubt the plaintiff cannot prove any set of

facts that would justify recovery. Aji P. v. State, 16 Wn. App. 2d 177, 187, 480

P.3d 438 (2021).

       Benshoof alleged that in early October 2014, the parties discussed buying

a home, and purchased the Property “together as co-owners.” He said the parties

agreed that Owen would “get the home loan” with her father as a co-signor and

“agreed that as soon as a new home loan without [the co-signor] was obtained,

that [Benshoof] would be added to the house Title as the rightful co-owner.” He

continued, “In, or around 2018, [Owen] obtained a home loan without her Father

as a co-signor.” Benshoof alleged that from 2018 to 2021, he demanded that

Owen place his name on the Property’s title, and Owen “repeatedly made excuses

and/or refused to add [Benshoof’s] name to their house title.” In 2020, Owen

bought her “own house and moved out of the [Property].” In 2021, Owen advised




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No. 85465-8-I/9


Benshoof that she owned the Property and he “was only a renter” because “only

[Owen’s] name was on the title to their house.”

                                           A

       The statute of limitations for fraud is three years, and “the cause of action

in such case [is] not to be deemed to have accrued until the discovery by the

aggrieved party of the facts constituting the fraud.”        RCW 4.16.080(4).       The

limitations period is also three years for an action “upon a contract or liability,

express or implied, which is not in writing, and does not arise out of any written

instrument,” RCW 4.16.080(3), or for an action “for any other injury to . . . the rights

of another not hereinafter enumerated,” RCW 4.16.080(2), and there is a catch-all

limitation period of two years from accrual for an action “for relief not hereinbefore

provided for,” RCW 4.16.130.        The trial court properly dismissed Benshoof’s

constructive fraud claim because it was time barred. Benshoof alleged in his

complaint that Owen repudiated any agreement by at least 2018, and he did not

file suit until March 2022, more than three years after the alleged repudiation. The

limitation period had expired. The trial court did not err in dismissing Benshoof’s

constructive fraud claim.

                                           B

       To establish a claim for intentional infliction of emotional distress, a plaintiff

must prove (1) extreme and outrageous conduct, (2) intentional or reckless

infliction of emotional distress, and (3) actual result to plaintiff of severe emotional




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No. 85465-8-I/10


distress.3 Kloepfel v. Bokor, 149 Wn.2d 192, 195, 66 P.3d 630 (2003). “Any claim

of outrage must be predicated on behavior ‘so outrageous in character, and so

extreme in degree, as to go beyond all possible bounds of decency, and to be

regarded as atrocious, and utterly intolerable in a civilized community.’ ” Strong v.

Terrell, 147 Wn. App. 376, 385-86, 195 P.3d 977 (2008) (quoting Kloepfel, 194

Wn.2d at 196).

       According to Benshoof, Owen refused to add Benshoof’s name to the

Property title, asserted that Benshoof was “only a renter,” and threatened to evict

him. Even while viewing the facts as pleaded in the light most favorable to

Benshoof, no reasonable person could conclude that Owen’s conduct was “so

outrageous” and “so extreme” as to support an intentional infliction of emotional

distress claim. Strong, 147 Wn. App. at 385-86. At worst, Benshoof’s allegations

fall within the category of “ ‘insults, indignities, threats, annoyances, petty

oppressions, or other trivialities,’ ” which do not amount to intentional infliction of

emotional distress. Grimsby v. Samson, 85 Wn.2d 52, 59, 530 P.2d 291 (1975)

(quoting RESTATEMENT (SECOND) OF TORTS § 46 cmt. D (AM. L. INST. 1965)). The

trial court did not err in dismissing Benshoof’s intentional infliction of emotional

distress claim.




       3 “Outrage” and “intentional infliction of emotional distress” are synonyms

for the same tort. See Snyder v. Med. Serv. Corp. of E. Wash., 145 Wn.2d 233,
250, 35 P.3d 1158 (2001) (applying elements of outrage to claim for intentional
infliction of emotional distress).


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No. 85465-8-I/11


                                          III

       Benshoof argues the trial court abused its discretion in canceling the lis

pendens recorded against the Property. We disagree.

       A “lis pendens” is an “instrument having the effect of clouding the title to real

property.” RCW 4.28.328(1)(a). Either party to an action affecting title to real

property may file a notice of lis pendens with the county auditor. RCW 4.28.320.

RCW 4.28.320 governs when a court may cancel a notice of lis pendens. It states,

       the court in which the said action was commenced may, at its
       discretion, at any time after the action shall be settled, discontinued
       or abated, on application of any person aggrieved and on good cause
       shown and on such notice as shall be directed or approved by the
       court, order the notice authorized in this section to be canceled of
       record, in whole or in part, by the county auditor of any county in
       whose office the same may have been filed or recorded.

Id. We review a trial court’s order granting a motion to cancel a lis pendens for an

abuse of discretion. Beers v. Ross, 137 Wn. App. 566, 575, 154 P.3d 277 (2007).

A trial court abuses its discretion when its order is manifestly unreasonable or

based on untenable grounds or for untenable reasons. Lindgren v. Lindgren, 58

Wn. App. 588, 595, 794 P.2d 526 (1990).

       Owen’s name is the only name listed on the Property title. The trial court

previously dismissed Benshoof’s claims with prejudice and denied his motion to

amend the complaint. Because Benshoof had no legal right to title of the Property,

the trial court did not abuse its discretion in canceling the lis pendens.




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No. 85465-8-I/12


                                        IV

      Benshoof argues the trial court abused its discretion in denying his motion

to amend his complaint because he “had valid claims and there was no undue

prejudice.” (Boldface omitted.) We disagree.

      We review a decision to grant or deny a motion to amend a pleading for a

manifest abuse of discretion. Herron v. Tribune Publ’g Co., 108 Wn.2d 162, 165,

736 P.2d 249 (1987). Except in circumstances not present here, “a party may

amend the party’s pleading only by leave of court or by written consent of the

adverse party; and leave shall be freely given when justice so requires.” CR 15(a).

Leave to amend should be freely given “ ‘except where prejudice to the opposing

party would result.’ ” Herron, 108 Wn.2d at 165 (quoting Caruso v. Local Union

No. 690 Int’l Bhd. of Teamsters, 100 Wn.2d 343, 349, 670 P.2d 240 (1983)). In

determining prejudice, a court may consider undue delay, unfair surprise, and

futility of amendment. Haselwood v. Bremerton Ice Arena, Inc., 137 Wn. App. 872,

889, 155 P.3d 952 (2007).

      Benshoof moved to amend his complaint on December 27, 2022, the same

day Owen filed her motion for summary judgment. The discovery cutoff was

January 23, 2023, the dispositive motion deadline was February 27, 2023 and trial

was set for March 13, 2023. Owen would not have had time to conduct discovery

on the newly asserted claims, nor would she have had time to address the new

claims in a dispositive motion before the existing case schedule deadlines.

Furthermore, Owen would not have had time to conduct the discovery necessary

to assert a remedy of partition as an alternative defense to Benshoof’s claim of


                                        12
No. 85465-8-I/13


ownership. The trial court was within its discretion to conclude it would have been

prejudicial to Owen to allow an amendment.4

      Additionally, Benshoof’s counsel agreed that all claims presented in the

motion to amend were governed by a three year limitation period. Wash. Ct. of

Appeals oral arg., Benshoof v. Owen, No. 85495-8-I (June 12, 2024), at 19 min.,

5 sec. to 19 min., 21 sec., https://tvw.org/video/division-1-court-of-appeals-

2024061236/?eventID=2024061236. Any amendment would have also been futile

because his new claims were time barred.

                                            V

      Benshoof argues the trial court abused its discretion in refusing to allow him

to testify at trial by Zoom. We disagree.

      We review a trial court’s decision whether to permit remote testimony for

abuse of discretion. In re Marriage of Swaka, 179 Wn. App. 549, 553, 319 P.3d

69 (2014). Former CR 43(a)(1) (2021) governs the taking of testimony for this

case. Former CR 43(a)(1) provides, in relevant part,

      In all trials the testimony of witnesses shall be taken orally in open
      court, unless otherwise directed by the court or provided by rule or
      statute. For good cause in compelling circumstances and with
      appropriate safeguards, the court may permit testimony in open court
      by contemporaneous transmission from a different location.




      4 Benshoof argues delay was an insufficient basis on which to deny his

motion because the trial court later continued trial. However, we review a trial
court’s decision based on the record before it at the time of the motion. Ensley v.
Mollmann, 155 Wn. App. 744, 759 n.17, 230 P.3d 599 (2010). Benshoof also
neither argues nor shows that subsequent delays were so great that they could
have altered the trial court’s analysis of prejudice.


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No. 85465-8-I/14


Former CR 43(a)(1) contains language identical to Fed. R. Civ. P. 43(a).5 When a

federal rule parallels a Washington rule, we may look to analysis of the federal

counterpart for guidance in interpreting the state rule. Washburn v. City of Federal

Way, 178 Wn.2d 732, 750, 310 P.3d 1275 (2013). The 1996 advisory committee

note interpreting Fed. R. Civ. P. 43(a) states that “[t]ransmission cannot be justified

merely by showing that it is inconvenient for a witness to attend the trial.” The note

also addresses the types of circumstances which might establish good cause for

remote testimony:

       The most persuasive showings of good cause and compelling
       circumstances are likely to arise when a witness is unable to attend
       trial for unexpected reasons, such as accident or illness, but remains
       able to testify from a different place. . . .
       ....
       A party who could reasonably foresee the circumstances offered to
       justify transmission of testimony will have special difficulty in showing
       good cause and the compelling nature of the circumstances.

Id.
       Benshoof does not show that the trial court had any obligation to exempt

him from CR 43 because there were outstanding warrants for his arrest whose

service he wished to continue to avoid. Because Benshoof failed to show there

were compelling circumstances to justify a departure from in-court testimony, the

trial court did not abuse its discretion by denying remote testimony.6

       5 Fed. R. Civ. P. 43(a) reads, “At trial, the witness’ testimony must be taken

in open court unless a federal statute, the Federal Rules of Evidence, these rules,
or other rules adopted by the Supreme Court provide otherwise. For good cause
in compelling circumstances and with appropriate safeguards, the court may
permit testimony in open court by contemporaneous transmission from a different
location.”
        6 Benshoof argues in light of his choice not to attend trial “there was no

ability to present evidence supporting [his] defense to Owen’s counterclaims


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No. 85465-8-I/15


                                        VI

      Benshoof argues the trial court erred in denying evidence of his

contributions to the Property before September 2020. We disagree.

      We review evidentiary rulings for an abuse of discretion. City of Spokane

v. Neff, 152 Wn.2d 85, 91, 93 P.3d 158 (2004). To the extent Benshoof argued

the evidence was relevant because it should be considered as a setoff to the unjust

enrichment claim, Benshoof did not affirmatively plead setoff.        “ ‘Generally,

affirmative defenses are waived unless they are (1) affirmatively pleaded, (2)

asserted in a motion under CR 12(b), or (3) tried by the express or implied consent

of the parties.’ ” Henderson v. Tyrrell, 80 Wn. App. 592, 624, 910 P.2d 522 (1996)

(quoting Bernsen v. Big Bend Elec. Coop., 68 Wn. App. 427, 433-34, 842 P.2d

1047 (1993)); see also CR 8(c) (listing, among affirmative defenses, “payment.”).

Following Owen’s first amended answer asserting her counterclaims, Benshoof

filed a “response” in which he did not assert an affirmative defense of payment or

setoff against Owen’s counterclaims.     The trial court limited the evidence of

monetary contributions to the Property to September 2020 forward because the

claim before the court did not warrant parsing through an accounting of credits and

debits from Benshoof and Owen from time barred periods starting in 2016. The




against him” because the trial court refused to read the portions of Benshoof’s
deposition testimony that he submitted. Nothing in the record suggests Benshoof
moved under ER 106, CR 32(a)(4), or any other authority to require introduction of
other portions of his deposition testimony because they ought, in fairness, to have
been considered with portions of his testimony that Owen offered. This claim fails
under RAP 2.5(a).


                                        15
No. 85465-8-I/16


trial court’s reasoning was tenable and thus, the trial court did not abuse its

discretion in limiting the evidence.

                                            VII

        Benshoof argues the “[t]otality of [the trial court’s] rulings indicate[] that there

was, from the beginning, a bias against Benshoof, which was continued throughout

trial.” Benshoof contends the trial court exhibited bias because it “repeatedly

referred to matters outside the record, including other litigation and any number of

prejudicial statements about Benshoof,” denied Benshoof’s motion to amend his

complaint, and did not allow Benshoof to testify by Zoom.

        There is a presumption that a trial judge properly discharged their official

duties without bias or prejudice. In re Pers. Restraint of Davis, 152 Wn.2d 647,

692, 101 P.3d 1 (2004). The party seeking to overcome the presumption must

provide specific facts establishing bias. Id. Judicial rulings alone almost never

constitute a valid showing of bias. Id.
        There was no evidence admitted at trial of Benshoof’s other court filings,

therefore the trial court’s references to such in its findings of fact were unsupported

by substantial evidence. To that extent, the trial court erred in making findings of

fact based on unproved court filings. However, the error was harmless. Benshoof

does not show that the trial court’s order was influenced by noting his prior

litigation.   The trial court was clear it did not consider the other litigation in

determining the merits of the claims in the action, as seen in the dismissal orders

and the final findings of fact and conclusions of law. There is substantial evidence

in the record to support the trial court’s issuance of a writ of ejectment and ordering


                                            16
No. 85465-8-I/17


that Benshoof pay Owen restitution. Benshoof has not provided specific facts

establishing that the trial judge had a bias against him, and thus fails to establish

judicial bias.

       Affirmed.




WE CONCUR:




                                         17
